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                                   In the
               United States Court of Appeals
                        For the Eleventh Circuit

                          ____________________

                                No. 23-11027
                          ____________________

      JOSE J. AYALA, JR.,
      JEFF SANTOS,
      on behalf of themselves and as representatives
      of other class members similarly situated,
                                                    Plaintiﬀs-Appellants,
      versus
      NISSAN NORTH AMERICA, INC.,
      a California corporation, and wholly owned
      subsidiary of Nissan Motor Company of Japan,
      d.b.a. Nissan USA,


                                                    Defendant-Appellee.


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      2                      Order of the Court                 23-11027

                Appeal from the United States District Court
                     for the Middle District of Florida
                 D.C. Docket No. 6:20-cv-01625-RBD-RMN
                         ____________________

      ORDER:
             The motion for an extension of time to and including August
      4, 2023, to file Appellant’s initial brief is GRANTED, with the ap-
      pendix due 7 days after the filing of the brief.




                                  /s/ Robert J. Luck_______________
                                  UNITED STATES CIRCUIT JUDGE
